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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA,                       Case No. 21-cr-00352-JEB
                           Plaintiff,
                                                    SENTENCING MEMORANDUM
           vs.                                      FILED AT THE REQUEST OF THE
                                                    DEFENDANT BY STANDBY
    MARC BRU,                                       COUNSEL1
                           Defendant.


        I.       INTRODUCTION

        At Mr. Bru’s initial sentencing in January 2024, the Court stated that if Mr. Bru’s

18 U.S.C. § 1512 conviction—which drove the Guideline calculation in the PSR—was

subsequently set aside and Mr. Bru’s Guidelines were significantly lower, the Court would

still impose the same sentence of 72 months.2 If that remains the case, the Court can stop

reading.




1
       Mr. Bru informed standby counsel that he does not intend to speak at his sentencing
hearing and that he wanted counsel to make argument on his behalf.
2
       Dkt. 100 at 15.
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        This sentencing memorandum will ask the Court to reconsider this pronouncement and

to resentence Mr. Bru to a term in line with his actual sentencing Guideline and comparable to

that received by other similarly situated defendants.

        A sentence of 72 months—roughly six times the upper end of the Guidelines for Mr.

Bru’s offense (6-12 months)—is grossly disproportionate to the conduct of conviction and

does not work a just result in this case. Here, the Court previously sentenced Bru, a 44-year-

old with no criminal history, who is at most, an idealogue and nuisance, to the type of sentence

typically—in the experience of counsel—reserved for recidivists guilty of violent offenses or

serious property crimes, e.g., The burglar entering the home of a sleeping family or a serial

perpetrator of domestic violence.

        Doubtlessly, the events of January 6, 2021, were a serious blemish on our nation’s

history. It’s impossible based on the evidence to conclude otherwise. Police officers were

assaulted, property was destroyed, and Congress, and the lives of D.C. residents, were thrown

into disorder.

        But Bru did not engage in this violence. He went to the Capitol grounds on January 6

to protest the results of the presidential election that he believed were secured through fraud.

He stood in the crowd on the West Plaza and shouted at the police. He briefly resisted the

efforts of law enforcement to force the growing crowd back from the Capitol with bike racks

by leaning against the advancing rack for several seconds. And he followed other protestors

through open doors into the Capitol, where he remained inside for 15 minutes. In sum, Bru

engaged in civil disobedience in a boisterous but non-violent manner. As he has proclaimed,


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he would do so again3 because he sincerely believed the claims of President Trump and his

supporters that the presidential election was “rigged”, and the survival of democracy was at

stake. His actions should be viewed for what they are and not conflated with those of other

violent bad actors.

        Admittedly, following his arrest, Bru has frustrated the criminal process at several

points, mainly because he felt he and other January 6 defendants were being treated differently

as a class than other protestors who have engaged in disruptive acts of civil disobedience at

the Capitol or in different cities around the country. But this being the case, his behavior was

not, as the government contends, worthy of the 72-month sentence imposed by the Court.

        The Court should adhere to the Guidelines (6-12 months), which account for Bru’s

failure to accept responsibility, and his obstructive activity, and it should sentence him on

Counts 1-6 to an aggregate sentence of the time he has already served (approximately 15

months). Such a sentence is proportionate to his conduct, accounts for his lack of criminal

history, and achieves the sentencing objectives of section 3553(a)(2).

        II.     FACTUAL BACKGROUND

        Marc Bru believed that President Biden was elected through fraudulent means and went

to Washington, D.C., on January 6, 2021, to protest the results of the presidential election. On

January 6, he marched with members of the group the “Proud Boys” from the “Ellipse” through

the “Peace Circle,” past downed barricades and “closed” signs, to the West Plaza of the




3
        Dkt. 100, at 15 (“You can give me a hundred years, and I would do it all over again.).
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Capitol.4 As he approached the West Plaza, he yelled at several police officers that they were

going to die for the “corporation,”i.e., what he perceived to be a corrupt government.5 Bru

joined a growing crowd of protestors assembling in the West Plaza. Elements of this crowd

became unruly and violent. Officers on the scene established a police line reinforced with

“bike racks” or barricades and attempted to control the gathered crowd, using the bike racks

to force it back from the Capitol.6 Bru briefly resisted this effort by pushing back on a bike

rack for several seconds before being pepper-sprayed and punched in the face by officers.7

        At around 2:12 p.m., protestors breached the police line and entered the Capitol by, in

many cases, breaking into the building.8 At this point, the “House and Senate chambers locked

down and sheltered in place.”9

        At around 2:36 p.m., Mr. Bru entered the Capitol, following other protestors through

an open door on the Upper West Terrace after police officers stood aside to allow entry. 10 As

he entered, Bru had his cellular phone out, apparently to video record what was taking place

inside the Capitol.11 At 2:42 p.m., he entered the upper gallery of the Senate.12 Bru spent about




4
        Exh. D-3 88-94
5
        Exh. D-3 at 47.
6
        Exh. D-3 at 47-48.
7
        Exh. D-3 at 48-50. Gov. Tr. Exh. 401, 504.
8
        Exh. D-3 at 52
9
        Exh. D-3 at 53.
10
        Exh. D-3 at 91-99.
11
        Exh. D-3 at 96.
12
        Exh. D-3 at 102.
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three minutes inside and took several “selfies” of himself in the Senate gallery.13 In total, Bru

spent about 15 minutes inside the Capitol.14

        III.    GUIDELINE CALCULATION

        In this case, the Guidelines only apply to Counts 1, 2, and 6. The PSR-writer has

correctly concluded that these counts group.15 However, neither the PSR-writer nor the Court

have determined the appropriate Guideline for these Counts.

         There is no dispute that Mr. Bru has zero criminal history points and falls in Criminal

History Category I. There is some dispute as to the applicable offense level for the grouped

counts. Mr. Bru calculates his offense level as follows:

           Offense Level                   Adjustment                        Reason
                  10                Base Offense Level             U.S.S.G. §§2X5.1;
                                                                   3D1.2(c); 2A2.4.
                  12                U.S.S.G. §3C1.1—               Mr. Bru absconded from
                                    Upward adjustment for          pretrial supervision.
                                    obstruction of justice.
                                    (+2)
                  10                U.S.S.G. §4C1.1—               Mr. Bru is a “zero-point
                                    Downward adjustment for        offender” who meets the
                                    zero-point offender (-2)       criteria in §4C1.1. Contrary
                                                                   to the government’s
                                                                   position, his pushing back
                                                                   on a bike fence for several
                                                                   seconds before getting
                                                                   punched and pepper
                                                                   sprayed does not constitute
                                                                   the use of violence.
 TOTAL OFFENSE LEVEL                             10


13
        Exh. D-3 at 102-104.
14
        Exh. D-3 at 104.
15
        Dkt. 90, ¶ 57.
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        Accordingly, as Mr. Bru’s Total Offense Level is 10, and as he is in Criminal History

Category I, his applicable Guideline is 6-12 months for the grouped counts.

        The government contends that the offense level for these Counts is 15.16 It argues that

an adjustment applies under §2A2.4(b)(1)(A), for making “physical contact” with a

government officer performing official duties.17 Further, the government contends that the

Zero-Point Offender adjustment does not apply to Bru given the facts of his case.

        A.    Mr. Bru Did Not Make “Physical Contact” with a Government Officer
              Performing Official Duties.

        In this case, several police officers attempted to advance a temporary police line of bike

racks toward the gathered protesters to move them back from the Capitol. In exhibit 401

introduced by the government, Mr. Bru appears to have resisted these efforts by briefly leaning

back on the fence for several seconds before being maced by Capitol police and punched in

the head. Inspector Loyd testified that Bru was trying to “disassemble the temporary police

line” by “physically grabbing on the …bike rack.”18 Loyd stated that, in response, he punched

Bru in the head.19

        The government claims that the bike rack touched a Capitol police officer and this

constituted “physical contact” with Mr. Bru, thus Bru should receive a three-level

enhancement under §2A2.4(b)(1)(A).20




16
        Dkt. 92-1 at 4.
17
        Dkt. 92-1 at 4.
18
        Exh. D-1 at 48.
19
        Exh. D-1 at 48-49.
20
        Dkt. 92-1 at 4.
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        While Mr. Bru may have briefly frustrated the efforts of the officers advancing the bike

rack, it does not appear his actions constitute the type of “physical contact” intended by the

Guideline. Of note, this three-level enhancement is also available if someone threatens a police

officer with a weapon.21 Given the severe nature of this equivalent adjustment, it seems likely

the Sentencing Commission intended a more egregious level of physical contact than merely

touching an object that someone else was touching.

        Further, while the video shows Mr. Bru exerting force on the bike rack, with others,

there is no clear evidence that he pushed the bike rack into an officer. Rather the video seems

to show that the officer stepped back from the bike rack when the protestors advanced and

removed his pepper spray which he proceeded to discharge.22

        The only point in which Mr. Bru clearly had physical contact with an officer was when

Inspector Loyd punched Bru in the head.

        B.    The Zero-Point Offender Adjustment Should Apply.

        The Guidelines do not explain what it means to use “violence…in connection with the

offense.”23 As another District Court has found, a Court should turn to the dictionary to define

the term:

        Contemporary dictionaries define “violence” as “[t]he use of physical force,” typically
        “accompanied by fury, vehemence, or outrage” and “unlawfully exercised with the
        intent to harm.” Violence, Black’s Law Dictionary (11th ed. 2019); see Pineda-Duarte,
        933 F.3d at 523 (citing Black’s Law Dictionary for definition of “violence” in
        interpreting U.S.S.G. § 2D1.1). Or, similarly, “violence” is the “exertion of any

21
       See U.S.S.G. § 2A2.4(b)(1)(B).
22
       See Gov. Tr. Exh. 401.
23
       U.S.S.G. §4C1.1(a)(3)(providing adjustment only available if “defendant did not use
violence or credible threats of violence in connection with the offense.”).
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        physical force so as to injure or abuse.” Violence, Webster’s Third New International
        Dictionary (1993).24

        In Bauer, the Court determined that the defendant committed a violent act by physically

touching and aggressively shoving a police officer while yelling “fuck you, you fucking

bitch.”25

        Mr. Bru is a “zero-point offender” who meets the criteria in §4C1.1. Here, the

government contends Bru is ineligible for a “zero-offender” adjustment under §4C1.1 because

he used “violence…in connection with the offense.”26 While it is inarguable that Mr. Bru used

some degree of force in pushing back on the barrier, he did not use “violence” as his brief

resistance was not intended to harm the officers.

        IV.     An Application of the § 3553(a) Factors Supports a Time-Served Sentence.

        The Court’s task in sentencing is to identify and “impose a sentence sufficient, but not

greater than necessary, to comply with the purposes” of sentencing.27 Although the Sentencing

Guidelines are the starting point for the calculation of an appropriate sentence, a district court

“may not presume that the Guidelines range is reasonable.”28 Instead, the Court “must make

an individualized assessment based on the facts” of each case, through the lens of the factors

outlined in 18 U.S.C. § 3553(a),29 recognizing that a within-guidelines sentence may be greater


24
       United States v. Bauer, 714 F. Supp. 3d 1, 5 (D.D.C. 2024).
25
       Id.
26
       U.S.S.G. §4C1.1(a)(3)(providing adjustment only available if “defendant did not use
violence or credible threats of violence in connection with the offense.”).
27
       18 U.S.C. § 3553(a).
28
       Gall v. United States, 552 U.S. 38, 50 (2007).
29
       (1) the nature and circumstances of the offense and history and characteristics of the
defendant; (2) the purposes of sentencing, including the need for deterrence and to protect the
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than necessary to serve the purposes of sentencing.30 “[T]he amount by which a sentence

deviates from the applicable Guidelines range is not a measure of how ‘reasonable’ a sentence

is. Reasonableness is determined instead by the district court’s individualized application of

the statutory sentencing factors.”31

        This memorandum will examine why the sentencing factors relevant to this case

support the imposition of a time-served sentence.

            A. The Non-Aggravated Nature and Circumstances of the Offense Support a
               Time-Served Sentence.

        President Trump asserted that the results of the 2020 election were illegitimate and that

a massive fraud had taken place. He encouraged his supporters, explicitly and implicitly, to

engage in acts of civil disobedience to protest the election results.

        Mr. Bru, sincerely believing the assertions made by the President, and believing that

the future of U.S. democracy was at stake, traveled to Washington, D.C., to engage in civil

disobedience. While he protested and ventured into restricted areas of the Capitol, he did not

engage in violence or property destruction. Within the spectrum of January 6 cases, his

conduct was not aggravated and is consistent with the imposition of a 15-month, time-served

sentence.


public; (3) the kinds of sentences available; (4) the Sentencing Guidelines; (5) any relevant
policy statements issued by the Sentencing Commission; (6) the need to avoid unwarranted
sentence disparities; and (7) the need to provide restitution to any victims of the offense.
30
        Gall, 552 U.S. at 50; Kimbrough v. United States, 552 U.S. 85, 91 (2007); see United
States v. Gupta, 904 F. Supp. 2d 349, 350 (S.D.N.Y. 2012) (“Imposing a sentence on a fellow
human being is a formidable responsibility. It requires a court to consider, with great care and
sensitivity, a large complex of facts and factors.”).
31
        United States v. Dorvee, 616 F.3d 174, 184 (2d Cir. 2010) (citing Gall, 552 U.S. at 46-
47).
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            B. The Known History and Characteristics of Mr. Bru Support a Time-Served
               Sentence.

        Mr. Bru has elected to maintain his privacy and has declined to disclose information

about his background to the USPO. However, two characteristics are readily apparent—his

age and lack of criminal history—and both suggest that he does not pose a risk of recidivism.

        At 44, Mr. Bru has no countable criminal history. Statistically, he is unlikely to accrue

any in the future. Most criminal-justice-involved individuals deescalate their conduct as they

enter their 30s and there’s a sharp decline in criminal behavior during middle age.32 The known

history and characteristics of Bru support the imposition of a time-served sentence.

            C. A Time-Served Sentence Achieves General and Specific Deterrence to the
               Extent This Is Possible Under the Circumstances.

        At Mr. Bru’s sentencing in January 2024, the government33 gave particular emphasis

to the goal of deterrence in arguing for an 87-month sentence. Under the circumstances, a 72-

month sentence does little to achieve this objective and may actually undermine it.

        First, research has found little correlation between sentence length and deterrence.34

Potential criminals are not generally aware of penalties for their prospective crimes, do not


32
        Marc Mauer, “A Proposal to Reduce Time Served in Federal Prison,” Testimony to
Charles Colson Task Force on Federal Corrections, 27 Fed. Sent. R. 300, 301, 2015 WL
4199237 (June 1, 2015); see also U.S. Sentencing Comm’n, The Effects of Aging on Recidivism
Among Federal Offenders 3 (2017) (“Older offenders were substantially less likely than younger
offenders to recidivate following release .... The pattern was consistent across age groupings.”).
33
        Dk. 100 at 14.
34
        See, e.g., Michael Tonry, Purposes and Functions of Sentencing, 34 Crime and Justice: A
Review of Research 28-29 (2006); Charles Loeffler et al., The Impact of Incarceration on
Recidivism, 5 Annual Review of Criminology 133 (2022), available at https://www.annualrevi
ews.org/doi/full/10.1146/annurev-criminol-030920-112506 (“Most studies we review, in fact,
find that the experience of postconviction imprisonment has little impact on the probability of
recidivism.”).
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believe they will be apprehended and convicted, and simply do not consider sentencing

consequences in the way an ideal, rational decisionmaker hypothetically would.35 The

Sentencing Commission has even recognized this fact noting that:

        There is no correlation between recidivism and Guidelines’ offense level. Whether an
        offender has a low or high Guideline offense level, recidivism rates are similar. While
        surprising at first glance, this finding should be expected. The Guidelines’ offense level
        is not intended or designed to predict recidivism.36

        Social science research on the subject suggests that it is the certainty of the punishment,

rather than the length, that has the deterrent effect.37 By identifying Mr. Bru within the

thousands of protestors and subjecting him to the criminal process for his conduct, it is likely

that the government has sufficiently achieved the goal of deterrence.



35
        See Id.; Andrew J. Oswald, Irrational Actors, 348 SCI. 1099, 1099 (2015) (discussing the
belief that one of the major failings in economics is the misplaced idea that people are rational
actors); Gary Kleck, et al., The Missing Link in General Deterrence Theory, 43 Criminology 623
(2005)(“There is generally no significant association between perceptions of punishment levels
and actual levels…implying that increases in punishment levels do not routinely reduce crime
through deterrence mechanisms.").
36
        See U.S. Sentencing Comm’n, Measuring Recidivism: The Criminal History
Computation of the Federal Sentencing Guidelines, at 15 (2004).
37
        See, e.g., Mihailis E. Diamantis, White-Collar Showdown, 103 Iowa L. Rev. Online 320,
327 (2017)(“doubling the chance of capture has a greater deterrent effect than doubling the
sanction. This is just a seemingly irrational quirk of white-collar psychology, and one that should
affect how we think about deterring white-collar crime.); See Peter J. Henning, Is Deterrence
Relevant in Sentencing White-Collar Criminals?, 61 Wayne L. Rev. 27, 49 n.96 (2015) (“[A]
short prison stay ... may not provide more than a marginal impact [for white-collar criminals]
beyond the experience of prosecution, conviction, and sentencing.” (quoting David Weisburd et
al., Specific Deterrence in a Sample of Offenders Convicted of White-Collar Crimes, 33
Criminology 587, 599 (1995)); Michael Tonry, Purposes and Functions of Sentencing, 34 Crime
& Just.: A Review of Research 28-29 (2006); Gary Kleck et al., The Missing Link in General
Deterrence Theory, 43 Criminology 623 (2005); Andrew von Hirsch et al., Criminal Deterrence
and Sentence Severity: An Analysis of Recent Research (1999); David Weisburd et al., Specific
Deterrence in a Sample of Offenders Convicted of White-Collar Crimes, 33 Criminology 587
(1995).
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        Further, the deterrent value of any sentence is severely undercut by the fact that

President Trump has openly proclaimed his belief that an injustice had been worked on those

like Mr. Bru who participated in the events of January 6 at the Capitol, and that pardons will

ensue promptly when he takes office. An NPR review of President Trump’s comments since

2021 found:

        [T]hat Trump has made calls to “free” Jan. 6 defendants or promised to issue them
        presidential pardons more than a dozen times. Trump has said he would issue those
        pardons on “Day 1” of his presidency, as part of a broader agenda to use
        presidential power to exact “retribution“ against his opponents and deliver “justice”
        for his supporters. 38

Specifically, Trump has stated that “[w]e’ll be looking very, very seriously at full

pardons,” for the January 6 th defendants, and emphasized that he meant “full pardons with

an apology to many.”39 On Truth Social he has posted “LET THE JANUARY 6

PRISONERS GO,” and expressed that, “[t]he cops should be charged and the protesters

should be freed.”40

        Recently, the DOJ has signaled that it will suspend a case related to January 6

against the president. 41




38
         Tom Dreisbach, Noah Caldwell, The Trump campaign embraces Jan. 6 rioters with
money and pardon promises, NPR (January 4, 2024), available at https://www.npr.org/2024/01/
04/1218672628/the-trump-campaign-embraces-jan-6-rioters-with-money-and-pardon-promises).
39
        Id.
40
        Id.
41
        On Friday, November 8, 2024, the United States Department of Justice Special Counsel
Jack Smith made an unopposed motion to “Vacate Briefing Schedule” in the matter of United
States v. Trump, 23-cr-00257 (TSC), “to afford the Government time to assess this
unprecedented circumstance and determine the appropriate course going forward consistent with
Department of Justice policy.”
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        Against this backdrop, how can a sentence have any deterrent effect? Jacob Ware,

a research fellow with the Council of Foreign Relations, and author of God, Guns, and

Sedition: Far-Right Terrorism in America, expressed this notion succinctly in a recent

interview:

        The Jan. 6 deterrence factor that you think would be in place based on the charges
        involved has already been eroded…People were punished for the crimes they
        committed, and that’s important from a criminal justice standpoint. But the deterrence
        that you would think from this case, the largest investigation in American history,
        would implement has been eroded from four years of rhetoric calling them warriors,
        heroes, patriots, political prisoners, martyrs.42

        It is even arguable that the aggressive positions—such as advocating for a severe

87-month sentence for Mr. Bru—that the DOJ has taken, have done more to radicalize and

encourage future misconduct by the president’s supporters, playing into the narrative that

they are being targeted by an unjust system, that they are political prisoners and hostages.43

        At his first sentencing hearing, when Mr. Bru said that he would do what he did

again even if the Court sentenced him to 100 years, he was not expressing a viewpoint

unique to himself, but one widely shared among a significant portion of the population,

stretching far beyond the thousands at the Capitol on January 6, and including many



42
        Antonio Fins, With Trump’s return, are Jan 6 Capitol Rioters off the hook?, USA Today
Network, (Nov. 15, 2024), available at https://www.usatoday.com/story/news/politics/elections/
2024/11/15/trump-pardons-jan-6-capitol-rioters/76131551007/ (last visited November 15, 2024).
43
        See, e.g., Lauren Ober and Hannah Rosin, What Really Happened Inside the Patriot Pod,
The Atlantic (October 16, 2024)(“ For various reasons, January 6 rioters have been held together
in a segregated wing of the D.C. jail that they came to call the “Patriot Pod.” They developed
their own rituals and inside jokes, and reinforced one another’s narratives. Over time, the
expected happened: They became further radicalized. And through connections with right-wing
media, they have attempted to recast themselves with terms such as political prisoner and
hostage, which the presidential candidate Donald Trump has now adopted as his own.”).
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members of the conservative political establishment. He believed what he did was a

righteous, and morally correct act of civil disobedience.

        Mr. Bru has no real criminal record and has been in federal custody for

approximately 15 months. This is a significant and life-altering period of incarceration,

particularly for someone who has never spent meaningful time incarcerated. To the extent

the Court seeks specific deterrence through a custodial sentence, even if Mr. Bru would

never concede this point, one would have to believe that this period of incarceration would

at least make him reconsider his protest methods in the future.

        However, given President Trump’s comments regarding the January 6 defendants,

which have been echoed by many in the conservative political establishment, and the

seemingly widespread belief that the January 6 defendants have been unjustly prosecuted,

it is unlikely that the sentence the Court will impose on Mr. Bru will have any general

deterrent effect. Rather, a sentence akin to that recommended by the government, far

above the Guidelines, would do more to radicalize and encourage future misconduct than

it would to deter.

            D. A Time-Served Sentence Will Adequately Protect the Public.

        On January 6 there were certainly a number of bad actors involved who were at the

Capitol not to protest but to hurt others, damage property, and foment armed insurrection.

Mr. Bru was not among them. Mr. Bru was there to protest what he perceived was an

illegitimate election.




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         His conduct in this case was not violent—he did not assault anyone; he did not

destroy any property. He protested, he briefly resisted efforts by law enforcement to push

back the crowd with bike racks, and he trespassed inside the Capitol for 15 minutes. His

conduct does not indicate any ongoing risk to the public that necessitates continued

incarceration.

        Nor does Mr. Bru’s conduct following January 6 warrant the imposition of the

previous sentence imposed by the Court. Much has been made by comments Mr. Bru made

in a private conversation, where he fantasized about “occupying” Portland in a similar

fashion to the way protestors occupied the Capitol.44 He did not discuss the use of violence,

nor did he seek to obtain weapons or armaments.45 From these comments, it’s difficult to

know whether he is fantasizing about armed insurrection, or a destabilizing conservative

occupy movement like Occupy Wallstreet or the Capitol Hill Autonomous Zone in Seattle.

Mr. Bru has never participated in armed violence. He has sincere, strongly held views,

which some might call idiosyncratic, about how the world is organized. Similar views are

held by many others. They are not a threat to the public merely because they hold fringe

beliefs or have private conversations fantasizing about future participation in protests.

        In sum, there is no basis to believe that a time-served sentence of 15 months will

do less to protect the public than the sentence imposed by the Court.




44
      Dkt. 90, ¶ 34.
45
      While he did seek gas masks, this is consistent with anticipating that crowd control
measures might be used to control a protest.
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            E. A Time-Served Sentence Avoids Unwarranted Disparity Among
               Defendants with Similar Records who Have Been Found Guilty of Similar
               Conduct.

         Here, the 72-month sentence previously imposed by the Court creates a significant

disparity between Mr. Bru and other similarly situated defendants, both generally and

specifically to the context of January 6.

         First, a 72-month sentence is about 5 years more than the average sentence of others

similarly situated on the Guidelines sentencing table. The Sentencing Commission data shows

that:

         During the last five fiscal years (FY2019-2023), there were 55 defendants whose
         primary guideline was §2A2.4, with a Final Offense Level of 10 and a Criminal History
         Category of I, after excluding defendants who received a §5K1.1 substantial assistance
         departure. For the 48 defendants (87%) who received a sentence of imprisonment in
         whole or in part, the average length of imprisonment imposed was 7 month(s) and the
         median length of imprisonment imposed was 6 month(s).46

Specifically, it is disparate to what other January 6 defendants received from the Court for the

offense of Civil Disorder, Mr. Bru’s sole felony conviction. This Court has sentenced twelve

defendants for civil disorder. The average sentence imposed was 19¼ months.47 The lowest

sentence imposed was 21 days, while the highest sentence, 36 months, was reserved for an




46
       United States Sentencing Commission, Judiciary Sentencing INformation (JSIN),
available at https://jsin.ussc.gov/analytics/saw.dll?Dashboard.
47
       Exh. D-1.
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individual, Robert Dennis who was also convicted under 18 U.S.C. § 111(a)(1) of assaulting

two police officers, tackling one officer to the ground and punching him in the face.48

        Further, it is above what other January 6 defendants have received from this Court

despite engaging in far more serious, violent conduct. Notably, this Court sentenced Mark

Mazza who entered the Capitol armed with a loaded firearm and beat an MPD officer with a

baton, to a lower sentence—60 months—than Mr. Bru.49 Jacob Therres received a 40-month

sentence, again for viciously assaulting police officers.50 Mikhail Slye received a sentence of

30 months for hitting a law enforcement officer with a bike rack.51 Rodney Milstreed received

60 months after throwing a wooden pick handle at officers and viciously assaulting a member

of the press within the Capitol (he later bragged about it stating “I did get to punch a camera

man with everything I had brother I felt good. [sic]”).52 Milstreed also made threats on social

media about using violence to keep President Trump in power.53 Justin Adams received 17

months’ incarceration after he “charged the police line and attacked one or more MPD

officers” punching at least one in the head.54 Israel Easterday received 30 months’

incarceration after macing a Capitol police officer while breaching the Capitol. 55 Gregory



48
        United States Attorney’s Office, District of Columbia, Texas Man Sentenced for Assault
on Law Enforcement During Jan. 6 Capitol Breah (April 13, 2023), available at
https://www.justice.gov/usao-dc/pr/texas-man-sentenced-assault-law-enforcement-during-jan-6-
capitol-breach.
49
        Exh. D-2 at 6.
50
        Exh. D-2 at 24.
51
        Exh. D-2 at 30-31.
52
        Exh. D-2 at 15-17.
53
        Id.
54
        Exh. D-2 at 49-50.
55
        Exh. D-3 at 53-61.
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Yetman, an enlisted military police officer and member of the National Guard, received 30

months’ incarceration after he assaulted officers with OC spay; when contacted by

investigators he fled and an extensive, multi-day manhunt ensued.56 This conduct is shocking.

And each of these violent actors received a sentence less than that imposed on Marc Bru by

this Court.

        There is a clear disparity which the Court should seek to correct. It should impose a

sentence of time-served which aligns with what others convicted of similar conduct have

received.

        V.      CONCLUSION

        There is a chance that the Court’s decision at sentencing is largely academic. It appears

likely that Mr. Bru will be pardoned by the Trump administration in the coming months.

Nevertheless, if nothing else, there is symbolic value in imposing a fair sentence in Mr. Bru’s

case. One that is consistent with the Guidelines, proportionate to Mr. Bru’s conduct, and which

affects the desired goals of sentencing outlined in section 3553(a)(2). An aggregate sentence

of 15 months, or “time served”, across Counts 1-6, is sufficient under the circumstances.

        DATED at Anchorage, Alaska this 17th day of November, 2024.

                                                Respectfully submitted,
                                                FEDERAL PUBLIC DEFENDER
                                                DISTRICT OF ALASKA
                                                /s/ Ben W. Muse
                                                Ben W. Muse
                                                Assistant Federal Defender



56
        Exh. D-2 at 67-69.
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                   Certificate of Service:
I hereby certify that I electronically filed the foregoing and
any attachments with the Clerk of Court for the United
States District Court for the District of Alaska by using the
district’s CM/ECF system on November 15, 2024. All
participants in this case are registered CM/ECF users and
will be served by the district’s CM/ECF system.
/s/ Ben W. Muse




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